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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION



 IN RE: HAIR RELAXER MARKETING                        MDL No. 3060
 SALES PRACTICES AND PRODUCTS
 LIABILITY LITIGATION                                 Master Docket No. 1:23-cv-00818

                                                      Hon. Mary M. Rowland

    L’ORÉAL USA’S UNOPPOSED MOTION FOR ISSUANCE OF REQUEST FOR
 INTERNATIONAL JUDICIAL ASSISTANCE, APPOINTMENT OF COMMISSIONER
   AND DIRECTION OF SUBMISSION OF HAGUE CONVENTION APPLICATION

            Pursuant to the Court’s Orders dated December 27, 2023 (ECF No. 353) and March 4,

2024 (ECF No. 499) regarding Plaintiffs’ request for documents maintained by L’Oréal S.A., the

French parent company of Defendants L’Oréal USA, Inc., L’Oréal USA Products, Inc. and

SoftSheen-Carson LLC (collectively, “L’Oréal USA”), L’Oréal USA hereby moves, unopposed,

for an Order:

                   1.     Issuing a Request for International Judicial Assistance (“Request for

                          Assistance”) pursuant to 28 U.S.C. § 1781 and Chapter II of the Hague

                          Convention on the Taking of Evidence Abroad in Civil Commercial

                          Matters, March 18, 1970, T.I.A.S. No. 7444, 28 U.S.T. 2555 (the “Hague

                          Convention”) in the form annexed as Exhibit A to the Declaration of

                          Dennis S. Ellis (“Ellis Declaration”), filed concurrently herewith;

                   2.     Appointing Ms. Noëlle Lenoir as commissioner (“Commissioner”)

                          pursuant to Article 17 of the Hague Convention, pending the approval of

                          the French Ministère de la Justice, to (a) receive documents from L’Oréal

                          S.A. that are responsive to Plaintiffs’ Requests for Production of




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                   Documents directed to L’Oréal USA that are also responsive to this

                   Court’s December 27, 2023 Memorandum Opinion and Order (ECF No.

                   353), which consists of the following categories of documents related to

                   hair relaxer products sold both inside and outside of the United States: (1)

                   foreign regulatory communications; (2) foreign hair relaxer product labels

                   and usage instructions; (3) foreign safety studies and testing documents;

                   and (4) foreign scientific journal articles commissioned by L’Oréal S.A.

                   regarding hair relaxer products (collectively, the “Documents”); (b)

                   transmit the Documents to L’Oréal USA for review and production in this

                   action pursuant to Article 17 of the Hague Convention and in performance

                   of her appointment as Commissioner and duties thereunder; and (c) upon

                   completion to inform the French Ministère de la Justice;

             3.    Directing submission of the Order and Request for Assistance to the

                   French Ministère de la Justice, for the purpose of approving the

                   appointment of the Commissioner;

             4.    Granting the additional relief set forth in the Proposed Order attached as

                   Exhibit B to the Ellis Declaration; and

             5.    Granting such other and further relief as this Court may deem just and

                   proper.




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            A Proposed Order is annexed as Exhibit B to the Ellis Declaration. As is reflected in the

Ellis Declaration, Plaintiffs do not oppose this motion.



Dated: December 4, 2024                              By: /s/ Dennis S. Ellis
                                                     Dennis S. Ellis
                                                     Katherine F. Murray
                                                     Noah S. Helpern
                                                     Serli Polatoglu
                                                     ELLIS GEORGE LLP
                                                     2121 Avenue of the Stars, 30th Floor
                                                     Los Angeles, CA 90067
                                                     T: (310) 274-7100
                                                     F: (310) 275-5697
                                                     dellis@ellisgeorge.com
                                                     kmurray@ellisgeorge.com
                                                     nhelpern@ellisgeorge.com
                                                     spolatoglu@ellisgeorge.com

                                                     Jonathan Blakley (6308603)
                                                     Gordon Rees Scully Mansukhani LLP
                                                     1 N. Franklin St., Suite 800
                                                     Chicago, IL 60606
                                                     T: (312) 565-1400
                                                     F: (312) 565-6511
                                                     jblakley@grsm.com

                                                     Peter Siachos (68465)
                                                     Gordon Rees Scully Mansukhani LLP
                                                     18 Columbia Turnpike, Suite 220
                                                     Florham Park, NJ 07932
                                                     T: (973) 549-2500
                                                     F: (973) 377-1911
                                                     psiachos@grsm.com

                                                     Counsel for Defendants L’Oréal USA, Inc.;
                                                     L’Oréal USA Products, Inc.; and SoftSheen-
                                                     Carson LLC




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